     Case 3:08-cr-05533-BHS             Document 68   Filed 10/07/08     Page 1 of 2




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 6                    UNITED STATES DISTRICT COURT
                   WESTERN DISCTRICT OF WASHINGTON
 7                             AT TACOMA
      UNITED STATES OF AMERICA           NO. CR 08-5533 BHS
 8                                      v.
                                                       Order Granting Defense Counsel’s
 9    CARLOS PEREZ,
                                                       Motion to Withdraw
10                                  Defendant.
11

12
                                           Order
13           Phil Brennan moves the Court to allow him to withdraw as attorney for Mr.

14   Perez for the reason that Mr. Brennan already represents Jesus Guerrero-Angel in a

15   related case (US v. Valencia-Rojas, 08-5602 RBL) and that continued representation

16   of Mr. Perez could create a conflict for Mr. Brennan vis a vis both clients. The Court
17   finds this explanation to be a reasonable basis to withdraw, and accordingly
18
     GRANTS the motion.
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     //
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     //
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     //
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23
     Order Granting Withdrawal Motion            1                      PHIL BRENNAN, Esq.
                                                                             P.O. Box 22837
                                                                            Seattle, WA 98122
                                                                             (206) 372-5881
     Case 3:08-cr-05533-BHS             Document 68   Filed 10/07/08    Page 2 of 2




 1   Mr. Brennan shall no longer represent Mr. Perez, and the CJA office shall appoint

 2   new counsel for Mr. Perez immediately.
 3           IT IS SO ORDERED this 7th day of October, 2008.
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10                                                       BENJAMIN H. SETTLE
                                                         United States District Judge
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     Order Granting Withdrawal Motion           2                      PHIL BRENNAN, Esq.
                                                                           P.O. Box 22837
                                                                          Seattle, WA 98122
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